                     Case 22-11539-mkn                  Doc 26          Entered 05/25/22 08:14:20                 Page 1 of 27




Fill in this information to identify the case:

Debtor name         BBC GROUP CA, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)    22-11539
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 25, 2022                    X /s/ Jacob Tchamanian
                                                           Signature of individual signing on behalf of debtor

                                                            Jacob Tchamanian
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                           Case 22-11539-mkn                                   Doc 26                 Entered 05/25/22 08:14:20                                          Page 2 of 27


Fill in this information to identify the case:

Debtor name           BBC GROUP CA, LLC

United States Bankruptcy Court for the:                      DISTRICT OF NEVADA

Case number (if known)              22-11539
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           691,000.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           691,000.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            40,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           100,000.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,835,544.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,975,544.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         BBC GROUP CA, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)       22-11539
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Business Bank Accounts                                                                                                           $1,000.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,000.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       BBC GROUP CA, LLC                                                       Case number (If known) 22-11539
             Name


      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Inventory food and drink
          $10k, perishable                                                         $0.00                                         $10,000.00




23.       Total of Part 5.                                                                                                   $10,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor        BBC GROUP CA, LLC                                                            Case number (If known) 22-11539
              Name

           General description                                          Net book value of          Valuation method used     Current value of
           Include year, make, model, and identification numbers        debtor's interest          for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    Business Vehicle (leased vehicle)
                    delivery truck 2021 Dodge Ram                                        $0.00                                         $40,000.00


           47.2.    3 Vehicles: 2019 Ford Transit Minivans
                    (x3) Value: $10,000 each                                             $0.00                                         $30,000.00


           47.3.    Isuzu Delivery Truck Value: $40,000                                  $0.00                                         $40,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Ovens, grills, tables, chairs, sundries and
           other equipment                                                               $0.00                                        $300,000.00




51.        Total of Part 8.                                                                                                       $410,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3
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Debtor      BBC GROUP CA, LLC                                                       Case number (If known) 22-11539
            Name

                                                                                                                      Current value of
                                                                                                                      debtor's interest


71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         Employee Retention Tax Credit ("ERTC")                                      Tax year 2021                             $270,000.00



73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                  $270,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                   page 4
                         Case 22-11539-mkn                             Doc 26             Entered 05/25/22 08:14:20                          Page 7 of 27

Debtor          BBC GROUP CA, LLC                                                                                   Case number (If known) 22-11539
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,000.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $10,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $410,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $270,000.00

91. Total. Add lines 80 through 90 for each column                                                            $691,000.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $691,000.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 5
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Fill in this information to identify the case:

Debtor name          BBC GROUP CA, LLC

United States Bankruptcy Court for the:            DISTRICT OF NEVADA

Case number (if known)              22-11539
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       Isuzu Finance of America,
2.1                                                                                                                        $40,000.00                $40,000.00
       Inc.                                         Describe debtor's property that is subject to a lien
       Creditor's Name                              Isuzu Delivery Truck Value: $40,000
       2500 Westchester Avenue,
       Suite 312
       Purchase, NY 10577
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $40,000.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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Fill in this information to identify the case:

Debtor name        BBC GROUP CA, LLC

United States Bankruptcy Court for the:         DISTRICT OF NEVADA

Case number (if known)           22-11539
                                                                                                                                                           Check if this is an
                                                                                                                                                           amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim                Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $100,000.00               $100,000.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          4/30/2022                                            Q1 2022 Outstanding Payroll Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                        $20,000.00
          Alsco                                                                  Contingent
          2300 N Commerce Street                                                 Unliquidated
          North Las Vegas, NV 91203                                              Disputed
          Date(s) debt was incurred 1/1/2021
                                                                             Basis for the claim:     Suplier
          Last 4 digits of account number na
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $400,000.00
          Continental Development Group                                          Contingent
          4114 Sepulveda Blvd, Suite L                                           Unliquidated
          Culver City, CA 90230                                                  Disputed
          Date(s) debt was incurred 3/1/2022
                                                                             Basis for the claim:     Store lease
          Last 4 digits of account number NA
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                 page 1 of 4
                                                                                                                                                   44834
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Debtor      BBC GROUP CA, LLC                                                               Case number (if known)            22-11539
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $100,000.00
         Cref X LV Crossroads LLC                                     Contingent
         2425 East Camelback Rd, Suit 750                             Unliquidated
         Phoenix, AZ 85016                                            Disputed
         Date(s) debt was incurred 4/1/2021
                                                                   Basis for the claim:    Property lease
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $42,000.00
         Employers CA                                                 Contingent
         14435 N 7th St, suite 201                                    Unliquidated
         Phoenix, AZ 85022                                            Disputed
         Date(s) debt was incurred 2/1/2021
                                                                   Basis for the claim:    Insurance expense
         Last 4 digits of account number 9497
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $20,000.00
         Harsch Investment                                            Contingent
         1121 SW Salmon St, suite 500                                 Unliquidated
         Portland, OR 97205                                           Disputed
         Date(s) debt was incurred 1/1/2021
                                                                   Basis for the claim:    Property Lease
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,000.00
         Hartford Financial NV                                        Contingent
         One Pierce Place, suite 725W                                 Unliquidated
         Itasca, IL 60143                                             Disputed
         Date(s) debt was incurred 5/1/2020
                                                                   Basis for the claim:    Insurance premium
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $270,000.00
         Karen Hatfield                                               Contingent
         143 South La Brea                                            Unliquidated
         Los Angeles, CA 90036                                        Disputed
         Date(s) debt was incurred 3/31/2022
                                                                   Basis for the claim:    Store lease
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $68,000.00
         LADWP                                                        Contingent
         NA                                                           Unliquidated
         Los Angeles, CA 91203                                        Disputed
         Date(s) debt was incurred 12/31/2021
                                                                   Basis for the claim:    Utilities
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,000.00
         Nevada Energy                                                Contingent
         6226 W Sahara Ave                                            Unliquidated
         Las Vegas, NV 89146                                          Disputed
         Date(s) debt was incurred  12/1/2021                      Basis for the claim:    Utilities
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 4
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Debtor      BBC GROUP CA, LLC                                                               Case number (if known)            22-11539
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $80,000.00
         Paychex                                                      Contingent
         911 Panorama trail soutrh                                    Unliquidated
         Rochester, NY 14625                                          Disputed
         Date(s) debt was incurred 2/1/2021
                                                                   Basis for the claim:    Lawsuit
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,000.00
         Robert Gould                                                 Contingent
         Lipeles Law Group, 880 Appolo Street sui                     Unliquidated
         El Segundo, CA 90245                                         Disputed
         Date(s) debt was incurred 5/1/2021
                                                                   Basis for the claim:    Lawsuit
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $100,000.00
         S Larson Family Limited                                      Contingent
         583 St Croix                                                 Unliquidated
         Henderson, NV 91203                                          Disputed
         Date(s) debt was incurred 2/1/2019
                                                                   Basis for the claim:    Property lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $53,000.00
         Souther California Gas                                       Contingent
         NA                                                           Unliquidated
         Los Angeles, CA 91203                                        Disputed
         Date(s) debt was incurred 12/31/2021
                                                                   Basis for the claim:    Utilities
         Last 4 digits of account
         number 814,200,346,905,934,000,000,00                     Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $31,000.00
         Southern California Edison                                   Contingent
         na                                                           Unliquidated
         Los Angeles, CA 91203                                        Disputed
         Date(s) debt was incurred 12/31/2021
                                                                   Basis for the claim:    electric
         Last 4 digits of account number 9374
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $11,000.00
         Southwest Gas                                                Contingent
         P.O.Bo 98890                                                 Unliquidated
         Las Vegas, CA 89193                                          Disputed
         Date(s) debt was incurred  12/1/2021                      Basis for the claim:    Utilities
         Last 4 digits of account number NA
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $20,000.00
         Sysco                                                        Contingent
         20701 east currier rd                                        Unliquidated
         Pasadena, CA 91789                                           Disputed
         Date(s) debt was incurred  1/27/2019                      Basis for the claim:    Mortgage Loan
         Last 4 digits of account number 6349
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 3 of 4
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Debtor       BBC GROUP CA, LLC                                                                      Case number (if known)            22-11539
             Name

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          Sysco                                                                Contingent
          6201 East Centennial Parkway                                         Unliquidated
          Las Vegas, NV 89115                                                  Disputed
          Date(s) debt was incurred 5/27/2018
                                                                           Basis for the claim:    Food supplier
          Last 4 digits of account number 3133
                                                                           Is the claim subject to offset?       No     Yes

3.18      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          Waste Management                                                     Contingent
          P.O.Box 43530                                                        Unliquidated
          Phoenix, AZ 85080                                                    Disputed
          Date(s) debt was incurred  12/31/2021                            Basis for the claim:    Utilities
          Last 4 digits of account number NA
                                                                           Is the claim subject to offset?       No     Yes

3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $564,044.00
          Westfield                                                            Contingent
          2049 Century Park East, 41st floor                                   Unliquidated
          Los Angeles, CA 90067                                                Disputed
          Date(s) debt was incurred 3/31/2022
                                                                           Basis for the claim:    Store Lease
          Last 4 digits of account number NA
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                      100,000.00
5b. Total claims from Part 2                                                                           5b.   +    $                    1,835,544.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,935,544.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4
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Fill in this information to identify the case:

Debtor name        BBC GROUP CA, LLC

United States Bankruptcy Court for the:      DISTRICT OF NEVADA

Case number (if known)      22-11539
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           property located at
             lease is for and the nature of       2146 Colorado Blvd,
             the debtor's interest                Los Angeles CA 90042
                                                  (Assume)
                State the term remaining
                                                                                    2144, 2146 Colorado Blvd, LLC
             List the contract number of any                                        2029 Edgewood Dr.
                   government contract                                              South Pasadena, CA 91030


2.2.         State what the contract or           Property located at
             lease is for and the nature of       16350 Venture Blvd
             the debtor's interest                Suite A
                                                  Encino, CA 91436
                                                  (assume)                          Avalon Bay Communities Inc.
                State the term remaining                                            Attn: legal department
                                                                                    4040 Wilson Blvd
             List the contract number of any                                        Suite 1000
                   government contract                                              Arlington, VA 22203


2.3.         State what the contract or           10250 Santa Monica
             lease is for and the nature of       Blvd Suite 1, Los
             the debtor's interest                Angeles, CA 90067
                                                  (Vacated/Reject)
                State the term remaining                                            Century City Mall, LLC
                                                                                    2049 Century Park East
             List the contract number of any                                        41st Floor
                   government contract                                              Los Angeles, CA 90067


2.4.         State what the contract or           4114 Sepulveda Blvd,
             lease is for and the nature of       Culver City 90230
             the debtor's interest                (Vacated/reject)

                State the term remaining
                                                                                    Continental Development Group
             List the contract number of any                                        4114 Sepulveda Blvd, Suite L
                   government contract                                              Culver City, CA 90230

Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 2
                     Case 22-11539-mkn           Doc 26       Entered 05/25/22 08:14:20               Page 14 of 27
Debtor 1 BBC GROUP CA, LLC                                                       Case number (if known)   22-11539
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease


2.5.      State what the contract or        102 W 2nd Street
          lease is for and the nature of    Unit #105
          the debtor's interest             Los Angeles, CA 90012
                                            (vacated/reject)
             State the term remaining
                                                                        Karen Hatfield
          List the contract number of any                               143 South La Brea
                government contract                                     Los Angeles, CA 90036


2.6.      State what the contract or        delivery truck 2021
          lease is for and the nature of    Dodge Ram
          the debtor's interest

             State the term remaining

          List the contract number of any                               Mitsubishi Lease
                government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
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Fill in this information to identify the case:

Debtor name      BBC GROUP CA, LLC

United States Bankruptcy Court for the:   DISTRICT OF NEVADA

Case number (if known)   22-11539
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Silva Chamanian             3815 Fairmeade Rd.                                        Continental                        D
                                      Pasadena, CA 91107                                        Development Group                  E/F       3.2
                                                                                                                                   G




   2.2    Silva Chamanian             3815 Fairmeade Rd.                                        Cref X LV Crossroads               D
                                      Pasadena, CA 91107                                        LLC                                E/F       3.3
                                                                                                                                   G




   2.3    Silva Chamanian             3815 Fairmeade Rd.                                        Harsch Investment                  D
                                      Pasadena, CA 91107                                                                           E/F       3.5
                                                                                                                                   G




   2.4    Silva Chamanian             3815 Fairmeade Rd.                                        Karen Hatfield                     D
                                      Pasadena, CA 91107                                                                           E/F       3.7
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    BBC GROUP CA, LLC                                                       Case number (if known)   22-11539


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.5     Silva Chamanian          3815 Fairmeade Rd.                                  S Larson Family                    D
                                   Pasadena, CA 91107                                  Limited                            E/F   3.12
                                                                                                                          G




  2.6     Silva Chamanian          3815 Fairmeade Rd.                                  Westfield                          D
                                   Pasadena, CA 91107                                                                     E/F   3.19
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         BBC GROUP CA, LLC

United States Bankruptcy Court for the:   DISTRICT OF NEVADA

Case number (if known)   22-11539
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                           04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                      Gross revenue
      which may be a calendar year                                                   Check all that apply                    (before deductions and
                                                                                                                             exclusions)

      From the beginning of the fiscal year to filing date:                              Operating a business                           $266,747.00
      From 1/01/2022 to Filing Date
                                                                                         Other    Gross Receipts


      For prior year:                                                                    Operating a business                           $346,005.00
      From 1/01/2021 to 12/31/2021
                                                                                         Other    Gross Receipts


      For year before that:                                                              Operating a business                           $861,202.00
      From 1/01/2020 to 12/31/2020
                                                                                         Other    Gross Receipts

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                     Description of sources of revenue       Gross revenue from
                                                                                                                             each source
                                                                                                                             (before deductions and
                                                                                                                             exclusions)

      For prior year:                                                                Payroll Protection Program
      From 1/01/2021 to 12/31/2021                                                   ("PPP2")                                           $270,000.00


      For prior year:                                                                Employee Retention Tax
      From 1/01/2021 to 12/31/2021                                                   Credit ("ERTC")                                    $230,000.00


      For year before that:                                                          Payroll Protection Program
      From 1/01/2020 to 12/31/2020                                                   ("PPP1")                                           $292,000.00



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Debtor       BBC GROUP CA, LLC                                                                  Case number (if known) 22-11539



                                                                                       Description of sources of revenue              Gross revenue from
                                                                                                                                      each source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)
      For year before that:                                                            Employee Retention Tax
      From 1/01/2020 to 12/31/2020                                                     Credit ("ERTC")                                           $130,000.00


Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Continental Development v.                                                                                          Pending
             BBC Group CA, LLC                                                                                                   On appeal
                                                                                                                                 Concluded




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Debtor       BBC GROUP CA, LLC                                                                   Case number (if known) 22-11539



             Case title                               Nature of case               Court or agency's name and             Status of case
             Case number                                                           address
      7.2.   Harsch Properties v. BBC                                                                                         Pending
             Group CA, LLC                                                                                                    On appeal
                                                                                                                              Concluded

      7.3.   Paychex Inc. vs. BBC Group               Payroll Services             State of New York Supreme                  Pending
             CA, LLC, BBC Group NV, LLC                                            Court                                      On appeal
             E2021007953                                                           Country of Monroe                          Concluded

      7.4.   Robert Gould v. BBC Group                Employment                   Superior Court of the State                Pending
             CA, LLC                                  Dispute                      of Californi                               On appeal
             20STCV27498                                                           County of Los Angeles                      Concluded

      7.5.   OVERLAND PARTNERS                        Landlord/Tenant              SUPERIOR COURT OF THE                      Pending
             SEPULVEDA                                                             STATE OF CALIFORNI                         On appeal
             LLC, v. BBC Group CA, LLC                                             COUNTY OF LOS                              Concluded
             21SMCV00444                                                           ANGELES, WEST DISTRICT

      7.6.   Sysco Los Angeles v. BBC                 Landlord/Tenant              Superior Court of California               Pending
             Group CA, LLC                                                         County of Los Angeles                      On appeal
             22STLC01284                                                           111 N. Hill Street #102                    Concluded
                                                                                   Los Angeles, CA 90012


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss             Value of property
      how the loss occurred                                                                                                                            lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      Delivery truck was totaled and                  claim made through vehicle insurance                      11/2021                        $30,000.00
      replaced with a new truck                       policy


Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy



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Debtor        BBC GROUP CA, LLC                                                                  Case number (if known) 22-11539



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                          value
               Address
      11.1.    Fair Fee Legal Services
               8751 W. Charleston Blvd.
               Suite 220                                  $1,738 Filing Fee
               Las Vegas, NV 89117                        $2,000 Attorney Fees                                          4/26/2022                  $3,738.00

               Email or website address
               help@bkvegas.com

               Who made the payment, if not debtor?
               Jacob Tchamanian



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers               Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange                was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services                 If debtor provides meals
                                                       the debtor provides                                                          and housing, number of
                                                                                                                                    patients in debtor’s care

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Debtor      BBC GROUP CA, LLC                                                                    Case number (if known) 22-11539




Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Credit Card Information from Customers
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

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Debtor      BBC GROUP CA, LLC                                                                   Case number (if known) 22-11539



For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Jacob Tchamanian                                                                                                   2018 to present
                    3815 Fairmeade Rd
                    Pasadena, CA 91107

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
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Debtor      BBC GROUP CA, LLC                                                                   Case number (if known) 22-11539




             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Jacob Tchamanian
                    3815 Fairmeade Rd
                    Pasadena, CA 91107

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Avalon Bay Communities Inc.
                    Attn: legal department
                    4040 Wilson Blvd
                    Suite 1000
                    Arlington, VA 22203

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jacob Tchamanian                        3815 Fairmeade Rd                                   Managing Member                           50
                                              Pasadena, CA 91107

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Silva Chamanian                         3815 Fairmeade Rd.                                  Member                                    50
                                              Pasadena, CA 91107



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

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Debtor      BBC GROUP CA, LLC                                                                   Case number (if known) 22-11539




           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 25, 2022

/s/ Jacob Tchamanian                                            Jacob Tchamanian
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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B2030 (Form 2030) (12/15)

                                                        United States Bankruptcy Court
                                                                     District of Nevada
 In re       BBC GROUP CA, LLC                                                                                Case No.      22-11539
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 25, 2022                                                             /s/ Seth D Ballstaedt, Esq.
     Date                                                                     Seth D Ballstaedt, Esq.
                                                                              Signature of Attorney
                                                                              Fair Fee Legal Services
                                                                              8751 W. Charleston Blvd.
                                                                              Suite 220
                                                                              Las Vegas, NV 89117
                                                                              (702) 715-0000 Fax: (702) 666-8215
                                                                              help@bkvegas.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                                     District of Nevada
 In re    BBC GROUP CA, LLC                                                                                       Case No.       22-11539
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date May 25, 2022                                                        Signature /s/ Jacob Tchamanian
                                                                                        Jacob Tchamanian

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
                                                          District of Nevada
 In re   BBC GROUP CA, LLC                                                                     Case No.    22-11539
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                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    May 25, 2022                                  /s/ Jacob Tchamanian
                                                       Jacob Tchamanian/Managing Member
                                                       Signer/Title
